                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

                             CIVIL ACTION NO.: 2:18-cv-00496-DBH

LAKEVIEW LOAN SERVICING LLC                      )
                                                 )
          Plaintiff                              )
                                                 )
          v.                                     )
                                                 )
ANGELA L. BROWN AND                              )
JOSEPH CAROTO                                    )
                                                 )
          Defendants                             )


                      PLAINTIFF’S AMENDED WITNESS & EXHIBIT LIST

          Plaintiff Lakeview Loan Servicing LLC (“Plaintiff”) expects to call the following

witnesses, and refer to the following exhibits, at the upcoming October 17, 2019 bench trial in this

matter:

1.        Fact Witnesses

          Keith Nichols
          Litigation Resolution Specialist, LoanCare, LLC
          1200 Cherrington Parkway, Moon Township PA 15108

          Mr. Nichols will testify regarding the regularly conducted activities by which the records
          Plaintiff seeks to introduce at trial were created and maintained, such that those records
          may be admitted as exceptions to the general rule against hearsay. See Fed. R. Evid.
          803(6).

          Mr. Nichols’s direct testimony will last approximately 15 minutes.


2.        Exhibits (See Exhibit List, being filed separately)

          Plaintiff acknowledges that the court’s September 13, 2019 order directed the parties to

“jointly prepare and file a consolidated list of all exhibits to be offered at trial.” Plaintiff has not




                                                     1
had contact with Defendants in several months but will supplement or amend this exhibit list

should further information from Defendants become known.



                                                 PLAINTIFF
                                                 Lakeview Loan Servicing LLC

                                                 By: //s//Andrew J. Schaefer
                                                    Andrew J. Schaefer, Esq., Maine Bar No.
                                                    5770
                                                    Bendett & McHugh, P.C.
                                                    30 Danforth Street
                                                    Portland, ME 04101
                                                    Phone: (207) 517-8918
                                                    Email: aschaefer@bmpc-law.com




                                             2
